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UNITED STATES BANKRUPTCY COURT
Southern District of Texas
PDF FILE WITH AUDIO FILE ATTACHMENT

      2023-70028
      Garcia Grain Trading Corp. and Official Committee Of Unsecured Creditors
      Show Cause Hearing Doc. [749].




      Case Type :                    bk
      Case Number :                  2023-70028
      Case Title :                   Garcia Grain Trading Corp. and Official Committee Of Unsecured
                                     Creditors
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